  Case 1:19-bk-10189        Doc 16     Filed 03/15/19 Entered 03/15/19 18:23:27             Desc Main
                                       Document     Page 1 of 2

                             UNITED STATES BANKRUPTCY COURT
                                         FOR THE
                          DISTRICT OF RHODE ISLAND (PROVIDENCE)

In re:                                                  Chapter 7
Steven W. DePasquale                                    Case No.: 19-10189

      Debtor
 ___________________________________/

                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                         PURSUANT TO 11 U.S.C. SECTION 362

       Caliber Home Loans, Inc., a creditor in the above captioned Chapter 7 proceeding, moves this
Court for an Order pursuant to 11 U.S.C. §362(d) for relief from the automatic stay of 11 U.S.C.
§362(a) so that it may foreclosure a Mortgage which it holds on real property known and numbered as
57 Wendy Way, West Warwick, RI 02893.
       The basis of the within Motion are set forth in the Memorandum filed herewith which is
incorporated herein by reference.

                                                     Caliber Home Loans, Inc.
                                                     By its attorneys,

Date: March 15, 2019                                  /s/ Joseph Dolben, Esq.________
                                                     Joseph Dolben, Esq., #7916
                                                     Marinosci Law Group, P.C.
                                                     275 West Natick Road, Suite 500
                                                     Warwick, RI 02886
                                                     Telephone: (401) 234-9200
                                                     jdolben@mlg-defaultlaw.com

Within fourteen (14) days after service, if served electronically, as evidenced by the certification and
an additional three (3) days pursuant to Fed. R. Bankr. P. 9006(f) if you were served by mail or other
excepted means specified, any party against whom this paper has been served, or any other party to
the action who objects to the relief sought herein, shall serve and file an objection or other appropriate
response to this paper with the Bankruptcy Court Clerk`s Office, 380 Westminster Mall, 6th Floor,
Providence, RI 02903 (401) 626-3100. If no objection or other response is timely filed within the time
allowed herein, the paper will be deemed unopposed and will be granted unless: (1) the requested
relief is forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of the
Court, the interest of justice requires otherwise.
  Case 1:19-bk-10189       Doc 16    Filed 03/15/19 Entered 03/15/19 18:23:27           Desc Main
                                     Document     Page 2 of 2

                            UNITED STATES BANKRUPTCY COURT
                                        FOR THE
                         DISTRICT OF RHODE ISLAND (PROVIDENCE)

In re:                                               Chapter 7
Steven W. DePasquale                                 Case No.: 19-10189

     Debtor
___________________________________/

                                   CERTIFICATE OF SERVICE

       I, Joseph Dolben, Esq., of Marinosci Law Group, P.C., do hereby certify that on March 15,
2019 I served a copy of the Motion for Relief and supporting documents on the attached service list
by mailing a copy of same by first class mail, postage prepaid or other method specified on service
list.
       Signed this15th day of March, 2019.


                                            /s/ Joseph Dolben, Esq.________
                                            Joseph Dolben, Esq., #7916
                                            Marinosci Law Group, P.C.
                                            275 West Natick Road, Suite 500
                                            Warwick, RI 02886
                                            Telephone: (401) 234-9200
VIA ECF
Peter J. Furness, Esq., on behalf of Debtor
Gary L. Donahue, Esq., on behalf of the U.S. Trustee
Stacy B. Ferrara, Esq., on behalf of the Trustee
Richard L. Gemma, Esq., on behalf of Bank Rhode Island
CarCretia V. DiBartolo, Esq., on behalf of North American Specialty Insurance Company
Carl S. Levin, Esq., on behalf of Old Republic Insurance Company

VIA US MAIL
Steven W. DePasquale
266 Howard Avenue
Hope, RI 02831

Justin W. DePasquale
57 Wendy Way
West Warwick, RI 02893

Town of West Warwick
Tax Collector
1170 Main Street
West Warwick, RI 02893
